865 F.2d 1267
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.Earl B. BROWN, Plaintiff-Appellant,v.SECRETARY OF HEALTH AND HUMAN SERVICES, Defendant-Appellee.
    No. 88-5440.
    United States Court of Appeals, Sixth Circuit.
    Jan. 4, 1989.
    
      Before MILBURN and ALAN E. NORRIS, Circuit Judges, and RICHARD F. SUHRHEINRICH, District Judge.*
      PER CURIAM.
    
    
      1
      Plaintiff, Earl B. Brown, appeals from a district court order awarding attorney fees under one of the two alternative provisions of the Equal Access to Justice Act under which plaintiff claimed attorney's fees.  Plaintiff disputes the amounts awarded and the refusal of the district court to find that the Secretary acted in bad faith.
    
    
      2
      Having had the benefit of oral argument, and having carefully considered the record on appeal and the briefs of the parties, we are unable to say that the district court erred.  Accordingly, the judgment of the district court is AFFIRMED in all respects upon the reasoning set forth in the district court's order of April 6, 1988.
    
    
      
        *
         The Honorable Richard F. Suhrheinrich, United States District Judge for the Eastern District of Michigan, sitting by designation
      
    
    